                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:13cr50-2-RLV


UNITED STATES OF AMERICA                     )
                                         )
                                             )
             vs.                             )               ORDER
                                             )
RICKY ALLEN LATHAM                           )
______________________________ )


      THIS MATTER is before the Court upon Defendant’s Motion To Continue from

the September 3, 2013, criminal term, in the Statesville Division.

      For the reasons stated in Defendant’s Motion and upon a showing that defense

counsel has not had sufficient time within which to adequately prepare in this case,

taking into account the exercise of due diligence, the Court will allow the continuance.

18 U.S.C. § 3161(h)(8)(B)(iv). The Court further finds that the ends of justice served by

taking such action as requested by the Defendant outweigh the best interest of the

public and the Defendant to a speedy trial.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion for a continuance is

GRANTED. This case is hereby continued from the September 2013, criminal term in

the Statesville Division to the November 12, 2013, criminal term in the Statesville

Division



                                    Signed: August 5, 2013




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